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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-212-RMR

UNITED STATES OF AMERICA,

       Plaintiff,
v.

JOSEPH EUGENE CLEMENTS

       Defendant.


 GOVERNMENT’S MOTION FOR FINAL ORDER OF FORFEITURE PURSUANT TO
      FEDERAL RULES OF CRIMINAL PROCEDURE, RULE 32.2(c)(2)


       The United States, by and through Special Assistant United States Attorney Timothy J.

Forwood, respectfully asks this court to enter a final order of forfeiture pursuant to Federal Rules

of Criminal Procedure, Rule 32.2(C)(2).

Rule 32.2(c)(2) states:

       (c) ANCILLARY PROCEEDING; ENTERING A FINAL ORDER OF FORFEITURE.

               (2) Entering a Final Order. When the ancillary proceeding ends, the court must

       enter a final order of forfeiture by amending the preliminary order as necessary to

       account for any third-party rights. If no third-party files a timely petition, the preliminary

       order becomes the final order of forfeiture if the court finds that the defendant (or any

       combination of defendants convicted in the case) had an interest in the property that is

       forfeitable under the applicable statute. The defendant may not object to the entry of the

       final order on the ground that the property belongs, in whole or in part, to a codefendant
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         or third party; nor may a third-party object to the final order on the ground that the third

         party had an interest in the property.

                                    PROCEDURAL BACKGROUND

         On July 20, 2022, the Defendant Joseph Eugene Clements was charged by way of

Indictment in Count One with a violation of 21 U.S.C. §846 (conspiracy to distribute and possess

with intent to distribute N,N-Dimethyltryptamine (“DMT”)); in Count Two with a violation 21

U.S.C. §846 (conspiracy to manufacture N,N-Dimethyltryptamine (“DMT”)); in Count Three

with a violation of 21 U.S.C. §846 (conspiracy to distribute and possess with intent to distribute

N,N-Dimethyltryptamine (“DMT”)); in Count Four with a violation 21 U.S.C. §841(a)(1) and

(b)(1)(C) (distribution of N,N-Dimethyltryptamine (“DMT”)); and in Count Five with a violation

of 18 U.S.C. §1956(a)(1)(A)(i) (money laundering) (Doc. 3). The Indictment also contained a

forfeiture allegation that included any and all property, real or personal, constituting or derived

from any proceeds the defendants obtained directly or indirectly as a result of the said violations,

and any and all property used or intended to be used in any manner or part to commit and to

facilitate the commission of the violations alleged, and all property traceable to such property

(Id.).

         On November 22, 2022, the Defendant pleaded guilty to Count One and Count Five

charged in the Indictment. (Doc. 55). In the Plea Agreement, the Defendant admits to the

forfeiture allegations in the Indictment. Specifically, the Defendant agrees to the forfeiture of

$5,100.00 in United States currency; $16,924.00 in United States currency; $24,260.00 in United

States currency; and 2.98 EA SOLANA Cryptocurrency valued at $95.33, all seized from the

Defendant. (Doc. 56 at 2). The United States agrees to return the EA Tesla Model 3 (VIN

5YJ3E1EC6MR997228) to the Defendant or his assignee. (Doc. 56 at 2).
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       Accordingly, the United States respectfully requests that this Court enter a final order of

forfeiture pursuant to Federal Rules of Criminal Procedure, Rule 32.2(c)(2), which will provide

the United States with clear title to the property that are the subject of this forfeiture motion,

listed above and in the Plea Agreement for the Defendant (Doc 56 at 2) as proposed in the

attached order.

                                     Respectfully submitted,
                                     NICHOLAS VASSALLO
                                     United States Attorney

                              By:     s/ Timothy J. Forwood
                                     TIMOTHY J. FORWOOD
                                     Special Assistant United States Attorney
                                     Acting Under Authority Conferred by 28 U.S.C. § 515
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       I hereby certify that the foregoing pleading complies with the type-volume limitation set

forth in Judge Rodriguez’s Practice Standard III(A) and (C).

                                             /s/ Timothy J. Forwood
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of February, 2023, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to Defense Counsel.



                                   By: s/ Timothy J. Forwood
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